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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA,                   :
                                            :      CRIMINAL CASE NO.:
v.                                          :      2:23-CR-12-SCJ-JCF
                                            :
PATRICK JOHN AGNEW                          :

                                     ORDER

      This matter is before the Court on Defendant’s Motion for Bond. (Doc. 14).

Defendant was originally arrested and charged by the State of Georgia with four

counts of Sexual Exploitation of Children, and ultimately bond was denied by a

Jackson County Superior Court Judge. (Id. at 1). Thereafter, Defendant was

indicted in this Court and taken into federal custody on a writ of habeas corpus ad

prosequendum. (Id.; see also Docs. 1, 5). In response to Defendant’s motion, the

Government contends that Defendant’s request for a bond in this Court should be

denied as premature because the Georgia charges have not yet been dismissed and

no bond appears to have been issued by the state court1, and as Defendant is before

this Court on a writ of habeas corpus ad prosequendum, he is still technically in

state custody. (See Doc. 15). The undersigned agrees.

      “Habeas corpus ad prosequendum, a writ derived from English common

law, has historically been ‘issue[d] when it [wa]s necessary to remove a prisoner,

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  Defendant did not indicate in his motion that the state charges have been
dismissed or that he has been given a bond on the state charges. (See Doc. 14).
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in order to prosecute . . . in any court, or to be tried in the proper jurisdiction

wherein the fact was committed.’ ” United States v. Kelly, 661 F.3d 682, 686 (1st

Cir. 2011) (quoting 3 William Blackstone, Commentaries, *130). “The writ is

‘issued directly by a court of the jurisdiction where an indictment, information, or

complaint has been lodged against the prisoner.’ “ Id. (quoting Stewart v. Bailey, 7

F.3d 384, 389 (4th Cir. 1993)). “It operates as ‘a court order requesting the

prisoner’s appearance to answer charges in the summoning jurisdiction.’ “ Id.

(quoting Stewart, 7 F.3d at 389). “The writ of habeas corpus ad prosequendum,

like other writs of habeas corpus, is issued to the custodian of the detained

individual.” Id.

      “When state and federal authorities exercise jurisdiction over a person at the

same time, ‘primary jurisdiction is generally determined by which one first obtains

custody of, or arrests, the person.’ “ Elwell v. Fisher, No. 11-2595 (RHK/LIB),

2012 U.S. Dist. LEXIS 84823, at *9 (D. Minn. Apr. 25, 2012) (quoting United

States v. Cole, 416 F.3d 894, 897 (8th Cir. 2005)), adopted by 2012 U.S. Dist.

LEXIS 83666 (D. Minn. June 18, 2012). “Primary jurisdiction continues with the

first sovereign to have actual physical custody of the person until the first

sovereign ‘relinquishes its priority in some way’ such as release on bail, dismissal

of charges, parole, or expiration of the sentence.” Id. In this case, Georgia arrested

Defendant first and was the first sovereign to have actual physical custody of him;

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Georgia thus has primary jurisdiction and retains primary custody of him. See, e.g.,

Bonds v. United States, No. 2:13cv542-WKW (WO), 2015 U.S. Dist. LEXIS

123550, at *22 (M.D. Ala. Aug. 20, 2015) (“Although federal authorities took

temporary custody of Bonds pursuant to the writ of habeas corpus ad

prosequendum on the federal drug charges, the State of Georgia still retained

primary custody of him,” and he “remained in custody of the Georgia authorities

during the time he was transferred for prosecution on the federal charges.”),

adopted by 2015 U.S. Dist. LEXIS 122577 (M.D. Ala. Sept. 15, 2015). “Issuance

of a writ of habeas corpus ad prosequendum, in order to transfer a prisoner for

prosecution in the proper jurisdiction, ‘d[oes] not alter [the defendant’s] custody

status. It merely change[s] the location of his custody.’ “ Elwell, 2012 U.S. Dist.

LEXIS 84823, at *9 (quoting Munz v. Michael, 28 F.3d 795, 798 (8th Cir. 1994)).

Courts have repeatedly stated that when a prisoner is transferred from the

sovereign with primary jurisdiction to the requesting sovereign by writ of habeas

corpus ad prosequendum, the prisoner is simply “on loan” to the requesting

sovereign, in this case the United States. See, e.g., Kelly, 661 F.3d at 686; United

States v. Hayes, 535 F.3d 907, 910 (8th Cir. 2008); Thomas v. Brewer, 923 F.2d

1361, 1367 (9th Cir. 1991); Causey v. Civiletti, 621 F.2d 691, 693 (5th Cir. 1980);

Crawford v. Jackson, 589 F.2d 693, 695-96 (D.C. Cir. 1978); Walker v. Warden,

FCC Coleman, USP II, No. 5:18-cv-123-Oc-02PRL, 2019 U.S. Dist. LEXIS

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31142, at *8-9 (M.D. Fla. Feb. 27, 2019); Hilton-Thomas v. Hastings, No. CV213-

030, 2013 U.S. Dist. LEXIS 143333, at *6 (S.D. Ga. June 17, 2013).

      As the Government correctly points out (Doc. 15 at 3), when a defendant

appears on a writ from state custody, bond proceedings on the federal charges are

rendered moot. See Ginn v. Rivera, No. 2:15cv00026 JTR, 2016 U.S. Dist. LEXIS

197845, at *7 (E.D. Ark. Mar 16, 2016). That is true because even if the

undersigned were to find Defendant was due to be released on bond, he would

remain in custody on the state charges. If Defendant’s circumstances change with

respect to his state charges he may renew or amend his request for bond.

      For the reasons stated above, Defendant’s Motion For Bond (Doc. 14) is due

to be DENIED.

      IT IS SO ORDERED this 22nd day of August, 2023.

                                      /s/ J. Clay Fuller
                                      J. Clay Fuller
                                      United States Magistrate Judge




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